Case 4:23-cv-01175-O          Document 173         Filed 04/12/25        Page 1 of 7       PageID 4301



                              UNITED STATES DISTRICT COURT FOR
                               THE NORTHERN DISTRICT OF TEXAS
                                    FORT WORTH DIVISION

 X CORP., a Nevada                                   §
 corporation,                                        §
                          Plaintiff,                 §
                                                     §
 vs.                                                 §                    Case No. 4:23-cv-01175-O
                                                     §
 MEDIA MATTERS FOR AMERICA, a                        §
 Washington, D.C. non-profit corporation,            §
 ERIC HANANOKI, and ANGELO                           §
 CARUSONE,                                           §
                                                     §
                      Defendants.                    §


               PLAINTIFF’S NOTICE OF SUPPLEMENTAL AUTHORITY


        On April 9, the Northern District of California held a hearing on Media Matters’ motion

for preliminary injunction in Media Matters et al. v. X Corp. et al., No. 3:25-cv-02397 (N.D. Cal.);

see ECF No. 158 at 45-76. The next day, the court granted it in part and denied it in part. See ECF

No. 56, Media Matters et al. v. X Corp. et al., No. 3:25-cv-02397 (N.D. Cal. Apr. 10, 2025)

(attached as Exhibit A). The court enjoined the “X entities”—X Corp., Twitter International

Limited Co. and Twitter Asia Pacific Pte. Ltd—“from further prosecuting the pending action

against Media Matters in Ireland.” Id. at 2. The court also enjoined the X entities “from prosecuting

or initiating litigation outside of the United States against Media Matters that arises from same

conduct alleged in the Ireland and Singapore complaints,” with exception of “the already-filed and

currently pending Singapore litigation.” Id.

        Although the court disclaimed any intent to “issue a ruling that enjoins or otherwise

restrains the Texas litigation,” id., its ruling is unsettling and disruptive in at least four ways, which

X Corp. respectfully believes merits this response. First, the California court did not address as a

                                                    1
Case 4:23-cv-01175-O         Document 173        Filed 04/12/25       Page 2 of 7      PageID 4302



threshold matter whether it has subject matter jurisdiction. Media Matters asserted no federal

claims, and as X explained in its opposition to the preliminary injunction motion (and its

subsequent motion to dismiss) before that court, X’s terms of service limit Media Matters’

damages to $100, eliminating diversity jurisdiction. The Northern District of California’s decision

is thus ultra vires. Second, and rather ironically, the court ignored that Media Matters agreed to a

forum selection clause requiring it to file its breach-of-contract suit in the Northern District of

Texas. The court therefore should have transferred the case to this Court to decide the issues before

it rather than arrogating that authority to itself. See ECF No. 157 at 8-9. Third, the court wrongly

applied the forum selection clause in the agreement between Media Matters and X Corp. to Twitter

International, based on an egregious misapplication of the third-party beneficiary doctrine that

purported to bind Twitter International to an agreement to which it was not a party and that it never

invoked. And although the California court declined to enjoin the proceedings brought by Twitter

Asia Pacific in Singapore, its opinion represents a not-so-subtle attempt to influence that court. 1

       Fourth, the Northern District of California has purported to resolve one of the issues in

Media Matters’ pending motion to transfer here—whether “the forum selection clause makes

clear” that X’s claims in the Northern District of Texas should have been brought in California.

Exhibit A, supra, at 2. All that remains for this Court to determine, according to the California



       1 The California court volunteered, without any evidence, that “it seems almost certain that

the X entities’ decision to file multiple suits in multiple jurisdictions is designed more to bully
Media Matters and inflict financial hardship upon it than to actually vindicate those entities’
rights.” Exhibit A, supra, at 1. In fact, the reason Twitter Asia Pacific filed a separate suit in
Singapore is because it suffered its own financial injuries from Media Matters’ defamation in
Singapore—injuries that are distinct from, and not overlapping with, X Corp.’s—and has claims
arising under Singapore tort law based on those injuries. One might be excused to think that
Singapore tort claims by a Singapore entity based on injuries in Singapore belong in a Singapore
court. The same reasoning applies with respect to Twitter International, an Irish entity that filed
suit in Ireland to assert Irish law tort claims based on injuries—again separate from X Corp.’s—
that it suffered in Ireland.
                                                  2
Case 4:23-cv-01175-O         Document 173         Filed 04/12/25      Page 3 of 7      PageID 4303



court, is “whether Media Matters has forfeited its right to rely on the forum selection clause.” Id.

The California court is wrong on the merits: The forum selection clause does not apply to any of

the tort claims that X is pursuing, as they relate to Media Matters’ defamatory article, not to X’s

provision of services to the Plaintiffs. ECF No. 168-3 at 9-13. The California court cited no

authority to the contrary. That issue remains properly before this Court.

       In any event, as the California court recognized, Media Matters’ forfeiture is squarely

before this Court, and the Court should find that Media Matters has lost its opportunity to assert

application of the forum selection clause. Although the California court sought to downplay Media

Matters’ failure to invoke the forum selection clause as a mere oversight, the court inexplicably

ignored that Media Matters literally cited that clause—twice—in its motion to dismiss while

discussing personal jurisdiction and venue. See ECF No. 32 at 3, ECF No. 41 at 3. Thus, Media

Matters’ failure to argue that the forum selection clause governed here could not have been the

result of Media Matters having merely overlooked the clause. Media Matters was evidently aware

of it, and therefore, the failure to contend that it governed must have arisen, at best, from a belief

by Media Matters or its then-counsel that the clause did not apply, or at worst, a strategic decision

not to invoke it at that time. Either way, Media Matters had “actual or constructive knowledge” of

the clause and “actual intent” not to invoke it. Hampton v. Equity Trust Co., 736 F. App’x 430,

435 (5th Cir. 2018). That Media Matters has come to regret its prior counsel’s decision is not a

basis to revive the forum selection clause at this late stage.

       In any event, “[w]aiver can also occur if a party engages in ‘conduct so inconsistent with

the intent to enforce the right as to induce a reasonable belief that it has been relinquished.’” Id.

(quoting SGIC Strategic Glob. Inv. Capital, Inc. v. Burger King Europe GmbH, 839 F.3d 422, 426

(5th Cir. 2016)). For example, the Fifth Circuit has held that failure to invoke an arbitration



                                                   3
Case 4:23-cv-01175-O         Document 173        Filed 04/12/25       Page 4 of 7      PageID 4304



clause—which is, “in effect, a specialized kind of forum-selection clause,” Scherk v. Alberto-

Culver Co., 417 U.S. 506, 519 (1974)—after filing a Rule 12(b)(6) motion to dismiss waived the

right to invoke the clause. Forby v. One Techs., L.P., 909 F.3d 780, 786 (5th Cir. 2018). If anything,

the outcome here follows from Forby because the Federal Arbitration Act evinces a federal policy

in favor of enforcing arbitration clauses, whereas no such special policy exists with respect to

forum selection clauses.

       Here, Media Matters “substantially invoke[d] the judicial process in derogation of the

forum selection clause” and “thereby cause[d] detriment or prejudice to” X Corp. Hampton, 736

F. App’x at 435 (citation omitted). Not only did Media Matters fail to advance its new arguments

based on the forum selection for over a year and a half, but Media Matters referenced the very

same forum selection clause in its motion to dismiss before this Court (and the Irish court and the

Singapore court for that matter) without contending it governed. See ECF Nos. 32, 41. That Media

Matters challenged venue here on other grounds is beside the point. See Atl. Marine Constr. Co.

v. U.S. Dist. Ct., 571 U.S. 49, 55 (2013) (holding venue provisions “say nothing about a forum-

selection clause”). Not only that, but after Media Matters filed its answer in this Court, it then

further substantially invoked the judicial process by engaging in voluminous discovery, filing

multiple motions before this Court—including a motion to compel a corrected certificate of

interested persons (ECF No. 73) and a motion to compel discovery responses (ECF No. 113)—

and seeking an extraordinary interlocutory appeal in the Fifth Circuit, which has been fully briefed

and argued and is pending decision. Invoking a forum selection clause to send this case to

California is flatly inconsistent with Media Matters having affirmatively invoked the Fifth

Circuit’s jurisdiction when it filed its interlocutory appeal, not to mention the other conduct

described above.



                                                  4
Case 4:23-cv-01175-O          Document 173         Filed 04/12/25       Page 5 of 7       PageID 4305



        “[T]here is no reason to allow [a defendant] to lie back, wait until the plaintiff has invested

resources in preparing for suit in the plaintiff’s chosen forum, wait perhaps to assess his prospects

in that forum, and only then demand that the case start over elsewhere.” Am. Patriot Ins. Agency,

Inc. v. Mut. Risk Mgmt., Ltd., 364 F.3d 884, 887-88 (7th Cir. 2004). The failure to invoke a forum

selection clause until this late in the day raises weighty interests of judicial efficiency and prejudice

to the defendant. See In re Mirant, 613 F.3d 584, 592 (5th Cir. 2010) (finding waiver where party

“wasted judicial resources and disadvantaged [defendant]”). Prejudice “can be substantive, such

as when a party loses a motion on the merits and then attempts, in effect, to relitigate the issue by

invoking arbitration,” Forby, 909 F.3d at 785, or, as in the present case, by invoking the authority

of a different court.

        The very fact that the Northern District of California is weighing in on these questions at

all—and that Media Matters is already citing it as authority, see ECF No. 172 at 1—underscores

the importance of the first-to-file rule. It also highlights the continued need for orders from this

Court denying Media Matters’ motion to transfer and enjoining Media Matters from further

prosecuting its California suit—which actually belongs in this Court—so that this Court can

address the parties’ disputes in the first instance, as comity and the law require.




                                                   5
Case 4:23-cv-01175-O     Document 173   Filed 04/12/25    Page 6 of 7       PageID 4306



      Dated: April 12, 2025.                Respectfully submitted.

                                            /s/ Christopher D. Hilton
                                            Judd E. Stone II
                                              Texas Bar No. 24076720
                                            Christopher D. Hilton
                                              Texas Bar No. 24087727
                                            Ari Cuenin
                                              Texas Bar No. 24078385
                                            Michael R. Abrams
                                              Texas Bar No. 24087072
                                            Alex M. Dvorscak
                                              Texas Bar No. 24120461
                                            Cody C. Coll
                                              Texas Bar No. 24116214
                                            STONE HILTON PLLC
                                            600 Congress Ave., Suite 2350
                                            Austin, TX 78701
                                            Telephone: (737) 465-7248
                                            judd@stonehilton.com
                                            chris@stonehilton.com
                                            ari@stonehilton.com
                                            michael@stonehilton.com
                                            alex@stonehilton.com
                                            cody@stonehilton.com

                                            John C. Sullivan
                                              Texas Bar No. 24083920
                                            S|L LAW PLLC
                                            610 Uptown Boulevard, Suite 2000
                                            Cedar Hill, TX 75104
                                            Telephone: (469) 523-1351
                                            Facsimile: (469) 613-0891
                                            john.sullivan@the-sl-lawfirm.com




                                        6
Case 4:23-cv-01175-O      Document 173        Filed 04/12/25      Page 7 of 7     PageID 4307




                              CERTIFICATE OF SERVICE

      I hereby certify that this document was served on all counsel for record on April 12, 2025

via the Court’s CM/ECF system.

                                                          /s/ Alexander M. Dvorscak
                                                          Alexander M. Dvorscak




                                              7
